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      ~AO 245B (CASD) (Rev. 8/11)    Judgment in a Criminal Case
                 Sheet I



                                               UNITED STATES DISTRICT COURT 14 FEB 21 PM 2: 53

                      UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE                                  ~
                                         v.                                          (For Offenses Committed On ,or After November I, 198rz"",,'

                           LETICIA MIFFLETON [4]                                     Case Number: 12CR1278-BTM
                                                                                     JOSEPH SHEMARIA
                                                                                     Defendant's Attorney
     REGISTRATION NO. 32713298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) I AND 2 OF THE SUPERSEDING INFORMATION
     o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty,
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number!s)
18 USC 1341                            MAIL FRAUD                                                                                                   I
26 USC n06( I)                        FILING FALSE TAX RETURN                                                                                      2




        The defendant is sentenced as provided in pages 2 through                5            ofthis judgment The sentence is imposed pursuant
 to the Sentencing Refonn Act of 1984,
 D The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 181 Count(s) IN THE UNDERLYING INDICTMENT                                           is   0      arel8l dismissed on the motion of the United States.
 181 Assessment: $100 to be paid within the first (1 st) six (6) months of Supervised Release.

 181 Fine waived                                    o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ ' incorporated herein,
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               FEBRUARY 7, 2014
                                                                              Date ofImpositioll ofSelltellce




                                                                              HQN:;\R]U:TED MOSKOWITZ
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                              12CR1278-BTM
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AO 245B (CASD) (Rev. 8111) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                 Judgment - Page _..:2_ of     5
 DEFENDANT: LETICIA MIFFLETON [4]
 CASE NUMBER: 12CR1278-BTM
                                                           IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED AS TO COUNTS I AND 2 CONCURRENTLY.


                                                                                                 ARRY    D MOSKOWITZ
     o Sentence imposed pursuant to Title 8 USC Section 1326(b).                                UNITED STATES DISTRICT JUDGE
     D The cowt makes the following recommendations to the Bureau of Prisons:



     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.      Op.m.       on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before -------------------------------------------------
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                RETURN

I have executed this judgment as follows:

        Defendant delivered on                                                      to

at                                                   with a certified copy of this judgment.


                                                                                               UNITED STATES MARSHAL


                                                                      By _ _ _ _ _~~~~~~~~~~-----
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                       12CR1278-BTM
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AO 245B (CASD) (Rev. 8/11) Judgment in fI Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment Page __3__ of _ _,,5_ __
DEFENDANT: LETICIA MIFFLETON [4]                                                                      o
CASE NUMBER: 12CR1278-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS AS TO COUNT 1.

         The defendant shan report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 2 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

o      The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000 'pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The detendant shall comply with hie requirements of the Sex Offender Registration ano Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of.the probation officer;
 4)     the defendant shall support his or her dependents and meet other family responsibilities;
 5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
 6)     the defendant shaH notify the pro bation officer at least ten days prior to any change in residence or employment;
 7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)     the defendant shall not frequent places where controlled substances are illegaJly sold, used, distributed, or administered;
 9)     the defendant shaH not associate with any persons engaged in criminal activity and shaH not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shan notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to conlrrm the
        defendant's compliance with such notification requirement.

                                                                                                                                      12CR1278-BTM
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                   Sheet 4 - Special Conditions
                                                                                                      Judgment Page     4     of      5
        DEFENDANT: LETICIA MIFFLETON [4]                                                         II
        CASE NUMBER: 12CR1278-BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least 1 to 8 tests per month and 1 to 8
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented a1iens or alien smugglers.
D Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written" permission ofthe Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription, under federal law.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
181 Remain in your place of residence for a period of 180 days, except while working at verifiable employment, attending religious services,
    performing community service or undergoing medical treatment or any such other reasons approved by the probation officer. The defendant
    shall be subject to electronic monitoring, at her expense.


D Reside in a Sober Living Facility for One (I) year after release from the RRC.
D Abstain from all use of Alcohol.
D
181 Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within                 days.
181 Complete 400 hours of community service in a program approved by the probation officer within 24 months.
181 All employment must be pre-approved by the Probation Officer.
181 Pay restitution in the amount of$52,008.00 to the IRS (solely) and $175,000.00 to the Meade #24 restitution fund jointly and severally with
    codefendants Stacey Jones, Dana MerrittlHayden and Abigail Gonzalez; to be paid in installments of$IOO per month, the payments shall be
    credited first to the IRS.




                                                                             ',\.-';.-




                                                                                                                                   12CR1278-BTM
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    AO 2458      Judgment in Criminal Case
                 Sheet 5 - Criminal Monetary Penalties

                                                                                                           Judgment - Page _-,5,-_ of         5
    DEFENDANT: LETICIA MIFFLETON [4]
    CASE NUMBER: 12CR1278-BTM

                                                                RESTITUTION

    The defendant shall pay restitution in the amount of _ _ _-'S-'ee.:...,:be_l_ow
                                                                                 _ _ _ _ unto the United States of America.

              $52,008.00 to the Internal Revenue Service of the United States of America (Solely) and $175,000.00 to the Meade
              Avenue #24 Restitution Fund jointly and severally with codefendants Stacy Jones; Dana Merritt/Hayden and
              Abigail Gonzalez.

              This sum shall be paid        __ immediately.
                                             " as follows:
                At the rate of $1 00 per month. The payment shall be credited to the I.R.S. until that amount has been paid in full then to
                the Meade Avenue #24 Restitution Fund.




         The Court has determined that the defendant          does not    have the ability to pay interest. It is ordered that:

       K         The interest requirement is waived.

                 The interest is modified as follows:




                                                                                                        12CR1278-BTM
